      Case 2:06-cr-00008-JMS-CMM                           Document 122               Filed 06/15/16             Page 1 of 2 PageID #:
                                                                  670
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)         Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                             Joel Tellez                                   )
                                                                           )    Case No: 2:06CR00008-009
                                                                           )    USM No: 08196-028
Date of Original Judgment:                            07/26/2007           )
Date of Previous Amended Judgment:                                         )    Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           u
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)



    Mr. Tellez was sentenced pursuant to a plea agreement for a specific range of imprisonment that was not based
    on the sentencing guideline calculations. In addition, he expressly waived his right to appeal the sentence
    imposed on any ground. Therefore, he is not eligible for a sentence reduction under Amendment 782.



                                                                                                            A CERTIFIED TRUE COPY
                                                                                                            Laura A. Briggs, Clerk
                                                                                                            U.S. District Court
                                                                                                            Southern District of Indiana

                                                                                                            By
                                                                                                                                  Deputy Clerk



Except as otherwise provided, all provisions of the judgment dated                                               shall remain in effect.
IT IS SO ORDERED.

Order Date:             06/15/2016
                                                                                                       Judge’s signature


Effective Date:                                                           Honorable________________________________
                                                                                    Larry J. McKinney, Sr. U.S. District Court Judge
                     (if different from order date)                                   LARRY J.  McKINNEY,
                                                                                              Printed name and titleJUDGE
                                                                                      United States District Court
                                                                                      Southern District of Indiana
Case 2:06-cr-00008-JMS-CMM       Document 122   Filed 06/15/16   Page 2 of 2 PageID #:
                                        671




Distribution:

Joel Tellez
Reg. No. 08196-028
McRae Correctional Institution
P.O. Drawer 55030
McRae Helena, GA 31055

Bradley A. Blackington
UNITED STATES ATTORNEY'S OFFICE
bradley.blackington@usdoj.gov
